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                               UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE


   UNITED STATES OF AMERICA                   )
                                              )
          v.                                  )      CR-06-58-B-W-04
                                              )
   JOHN PASCUCCI,                             )


                          ORDER AFFIRMING THE
               RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


      The United States Magistrate Judge filed with the Court on February 1, 2007 her

   Recommended Decision.      The Defendant filed his objections to the Recommended

   Decision on February 20, 2007 and the Government filed its response to those objections

   on March 9, 2007. I have reviewed and considered the Magistrate Judge's Recommended

   Decision, together with the entire record; I have made a de novo determination of all

   matters adjudicated by the Magistrate Judge's Recommended Decision; and I concur with

   the recommendations of the United States Magistrate Judge for the reasons set forth in

   her Recommended Decision, and determine that no further proceeding is necessary.


          1.      It is therefore ORDERED that the Recommended Decision of the
                  Magistrate Judge is hereby AFFIRMED.

          2.      It is further ORDERED that the Defendant’s Motion to Suppress
                  (Docket # 113) be and hereby is DENIED.


                                              /s/John A. Woodcock, Jr.
                                              JOHN A. WOODCOCK, JR.
                                              UNITED STATES DISTRICT JUDGE


   Dated this 21st day of March, 2007
